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     Indirect Purchaser Plaintiffs
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 9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
     IN RE: CATHODE RAY TUBE (CRT)              Master File No. CV-07-5944-JST;
13   ANTITRUST LITIGATION                       No. CV-13-03234-JST

14                                              MDL No. 1917

15
     This Document Relates to:                  DECLARATION OF MARIO N. ALIOTO IN
16                                              SUPPORT OF INDIRECT PURCHASER
     All Indirect Purchaser Actions             PLAINTIFFS’ OPPOSITION TO OBJECTOR
17                                              DOUGLAS ST. JOHN’S MOTION FOR
                                                ATTORNEY’S FEES AND EXPENSES
18
                                                Hearing Date: October 18, 2016
19                                              Time: 2:00 p.m.
                                                Court: Courtroom 9, 19th Fl.
20                                              Judge: Hon. Jon S. Tigar
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       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF IPPS’ OPPOSITION TO OBJECTOR ST. JOHN’S
        MOTION FOR ATTORNEY’S FEES AND EXPENSES - Master File No. CV-07-5944-JST, MDL No. 1917
        Case 4:07-cv-05944-JST Document 4806-1 Filed 08/31/16 Page 2 of 3




 1           I, Mario N. Alioto, declare:

 2           1.     I am an attorney duly licensed by the State of California and am admitted to practice

 3   before this Court. I am a partner with the law firm Trump, Alioto, Trump & Prescott, LLP and my

 4   firm serves as Lead Counsel for the Indirect Purchaser Plaintiffs (“IPPs”) in the above-captioned

 5   action. I submit this declaration in support of the IPPs’ Opposition to Objector St. John’s Motion for

 6   Attorney’s Fees and Expenses, ECF No. 4779 (“Mot.”). The matters set forth herein are within my

 7   personal knowledge and if called upon and sworn as a witness I could competently testify regarding

 8   them.

 9           2.     Attached hereto as Exhibit A is a true and correct copy of the objections filed by

10   Anna St. John of the Center for Class Action Fairness (“CCAF”) in In Re: Polyurethane Foam

11   Antitrust Litig., No. 1:10-md-02196-JZ, ECF No. 1960 (N.D. Ohio Nov. 12, 2015).

12           3.     Attached hereto as Exhibit B is a true and correct copy of the objections filed by Ted

13   Frank of CCAF in In re Citigroup Inc. Sec. Litig., No. 1:07-cv-09901, ECF No. 181 at 8-10

14   (S.D.N.Y. Dec. 27, 2012).

15           4.     During the meet and confer before the filing of this motion, I requested St. John’s

16   time records but St. John refused to provide them.

17           5.     St. John claims that Lead Counsel “refuse[d] to disclose the amount [of Special

18   Master’s fees] owed—or even IPP Counsel’s position as to whether any amount is owed—for no

19   apparent reason.” (Mot. at 8.) This is false. I never refused to disclose the amount owed to the

20   Special Master.

21           6.     During the meet and confer, I explained to Mr. St. John that it is premature to allocate

22   the Special Master’s fees because the Special Master’s work is not yet complete. Pursuant to this

23   Court’s Fee Order, and the Special Master’s Order Re Process for Allocating Attorneys’ Fees (ECF

24   No. 4748), I recently filed a proposed allocation of the aggregate fee award to IPP Counsel. (ECF

25   Nos. 4790, 4800.) Objections to that proposed allocation are due shortly, and the Special Master’s

26   Report & Recommendation is due by October 20, 2016. (ECF No. 4748 at 2.) I intend to propose

27   an allocation of the Special Master’s fees after the October 20, 2016 R&R.

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       DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF IPPS’ OPPOSITION TO OBJECTOR ST. JOHN’S
        MOTION FOR ATTORNEY’S FEES AND EXPENSES - Master File No. CV-07-5944-JST, MDL No. 1917
        Case 4:07-cv-05944-JST Document 4806-1 Filed 08/31/16 Page 3 of 3




 1          7.       I will provide St. John with the total amount charged by the Special Master to date,

 2   but this is not what St. John requested during the meet and confer.

 3          8.       Attached hereto as Exhibit C is a true and correct copy of my email exchange with

 4   Scott St. John regarding Objector St. John’s motion for attorneys’ fees and expenses. The version of

 5   the email chain attached as Exhibit 2 to the Declaration of Joseph Scott St. John contained some

 6   garbled text.

 7

 8          I declare under penalty of perjury that the foregoing is true and correct. Executed this 31st

 9   day of August, 2016, at San Francisco, California.

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11                                                 /s/    Mario N. Alioto
                                                          Mario N. Alioto
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                                                   Lead Counsel for the Indirect Purchaser Plaintiffs
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        DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF IPPS’ OPPOSITION TO OBJECTOR ST. JOHN’S
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